Case 4:21-cv-03306 Document 13-3 Filed on 07/10/23 in TXSD Page 1 of 7




                            EXHIBIT

                                 C
    Case 4:21-cv-03306 Document 13-3 Filed on 07/10/23 in TXSD Page 2 of 7




EMAIL to opposing counsel
On Jun 20, 2023, at 9:01 PM, Patrick McGettigan
<pmcgettigan@inhousegc.com> wrote:

Staci:

We have sorted and ingested the massive production Lanner made on or about May 30 and May
31. This production was due several months before and I was lead to believe it was going to
happen long before May 30. Our 3rd party discovery and electronic software provider and team
has determined that this batch (“email correspondence produced in native format” not bate
stamped) did NOT include internal Lanner/LEI emails between Lanner and LEI personnel except
for 3-4 emails!! The total count of this production was 9,468 documents. The massive number of
emails between SV and Lanner establishes that Lanner and LEI had to have hundreds of internal
emails among their employees and others about SV, the ODM Agreement, the Product, and the
reported failures, defects, deficiencies and shortcomings.

Yet, Defendants produced Bate Stamp Nos. LEI 00001-217 on or about November 15, 2022. In
that production, Lanner produced internal emails, such as LEI 000076-77 showing 15 persons
within Lanner, copied from that January 14, 2020 email, as shown below

From: Jimmy_Su <jimmy_su@lannerinc com>
Sent: Tuesday, January 14, 2020 9:29 PM
To: Dean_Mcarthur <dean_mcarthur@lannerinc com>
Cc: 'daren khatib' <daren_khatib@lannerinc com>; Gary_Chien <gary_chien@lannerinc
com>; Ben_Chen <ben_chen@lannerinc com>; Chester_Chung <chester_chung@lannerinc
com>; Spencer_Chou
<spencer_chou@lannerinc com>; Tony_Ghchen <tony_ghchen@lannerinc com>; Watson_Lee
<watson_lee@lannerinc com>; Ap_Chen <ap_chen@lannerinc com>; ling_Chen
<iling_chen_hq@lannerinc com>; Sam_Lee <sam_lee@lannerinc com>; Tom_Howley
<tom_howley@lannerinc com>; Geoffrey_Egger <geoffrey_egger@lannerinc com>;
Peter_Nam
<peter_nam@lannerinc com>; 'vince_leu' <vince_leu@lannerinc com>
Subject: RE: identifying scenario of 8000 PSU CONVERSION


This lack of production of internal emails is glaring, conspicuous and leads me to surmise that
Lanner is withholding documents. This email is to give you and your client an opportunity to
confer on this omission and refusal to produce all the internal communication (emails)
documents within 5 days. I am available to confer tomorrow or Thursday at a time that works for
you.

Note that Defendants filed “Supplemental” Response to ROGS and RFP, and Amended
Disclosures on June 12, 2023, the last formal day of discovery and after the depositions of Egger,
Chou and Crouse. The production on May 30 and 31, I presume is the “email correspondence
produced in native format” was referenced as such in the Supplemental Responses.
    Case 4:21-cv-03306 Document 13-3 Filed on 07/10/23 in TXSD Page 3 of 7




Patrick McGettigan
          Case 4:21-cv-03306 Document 13-3 Filed on 07/10/23 in TXSD Page 4 of 7


  From: Staci Vetterling SVetterling@hartlinebarger.com
Subject: RE: [EXTERNAL] Re: Lanner recent production of large batch at end of May OMITS INTERNAL EMAILS
   Date: June 27, 2023 at 8:15 AM
     To: McGettigan pmcgettigan@inhousegc.com


       They confirmed that all emails related to Safety Vision were provided.

       Thanks,
       Staci

       Staci Vetterling
       Of Counsel
       Hartline Barger LLP
       T: (713) 951-4224

       From: McGettigan [mailto:pmcgettigan@inhousegc.com]
       Sent: Monday, June 26, 2023 5:24 PM
       To: Staci Vetterling <SVetterling@hartlinebarger.com>
       Subject: Re: [EXTERNAL] Re: Lanner recent production of large batch at end of May
       OMITS INTERNAL EMAILS

       Any update on production?

       Patrick McGettigan




               On Jun 22, 2023, at 1:03 PM, McGettigan <pmcgettigan@inhousegc.com>
               wrote:

               Yes. I would like to know how and why the internal emails are missing. The
               methods they use for making a search does not mean much to me. Remove?
                I will call you around 9:30 if that works for you.

               Patrick McGettigan




                       On Jun 22, 2023, at 12:58 PM, Staci Vetterling
                       <SVetterling@hartlinebarger.com> wrote:


                       I requested another search of LEI emails from the client, but they
                       didn’t remove anything from the prior search results. I can talk
                       tomorrow morning if you would like.

                       Staci Vetterling
                       Of Counsel
                       Hartline Barger LLP
                       T: (713) 951-4224
Case 4:21-cv-03306 Document 13-3 Filed on 07/10/23 in TXSD Page 5 of 7



        From: McGettigan [mailto:pmcgettigan@inhousegc.com]
        Sent: Thursday, June 22, 2023 12:49 PM
        To: Staci Vetterling <SVetterling@hartlinebarger.com>
        Cc: Mysti Pride <mpride@inhousegc.com>
        Subject: [EXTERNAL] Re: Lanner recent production of large
        batch at end of May OMITS INTERNAL EMAILS

        Confer time later today? Tomorrow morning?

        Patrick McGettigan




             On Jun 20, 2023, at 9:01 PM, Patrick McGettigan
             <pmcgettigan@inhousegc.com> wrote:


             Staci:
             We have sorted and ingested the massive production
             Lanner made on or about May 30 and May 31. This
             production was due several months before and I was
             lead to believe it was going to happen long before May
             30. Our 3rd party discovery and electronic software
             provider and team has determined that this batch
             (“email correspondence produced in native format” not
             bate stamped) did NOT include internal Lanner/LEI
             emails between Lanner and LEI personnel except for
             3-4 emails!! The total count of this production was
             9,468 documents. The massive number of emails
             between SV and Lanner establishes that Lanner and
             LEI had to have hundreds of internal emails among
             their employees and others about SV, the ODM
             Agreement, the Product, and the reported failures and
             defects.

             Yet, Defendants produced Bate Stamp Nos. LEI
             00001-217 on or about November 15, 2022. In that
             production, Lanner produced internal emails, such as
             LEI 000076-77 showing 15 persons within Lanner,
             copied from that January 14, 2020 email, as shown
             below

             From: Jimmy_Su <jimmy_su@lannerinc com>
             Sent: Tuesday, January 14, 2020 9:29 PM
             To: Dean_Mcarthur <dean_mcarthur@lannerinc
             com>
Case 4:21-cv-03306 Document 13-3 Filed on 07/10/23 in TXSD Page 6 of 7


             com>
             Cc: 'daren khatib' <daren_khatib@lannerinc
             com>; Gary_Chien <gary_chien@lannerinc
             com>; Ben_Chen <ben_chen@lannerinc com>;
             Chester_Chung <chester_chung@lannerinc
             com>; Spencer_Chou
             <spencer_chou@lannerinc com>; Tony_Ghchen
             <tony_ghchen@lannerinc com>; Watson_Lee
             <watson_lee@lannerinc com>; Ap_Chen
             <ap_chen@lannerinc com>; ling_Chen
             <iling_chen_hq@lannerinc com>; Sam_Lee
             <sam_lee@lannerinc com>; Tom_Howley
             <tom_howley@lannerinc com>; Geoffrey_Egger
             <geoffrey_egger@lannerinc com>; Peter_Nam
             <peter_nam@lannerinc com>; 'vince_leu'
             <vince_leu@lannerinc com>
             Subject: RE: identifying scenario of 8000 PSU
             CONVERSION

             This lack of production of internal emails is
             glaring, conspicuous and leads me to surmise
             that Lanner is withholding documents. This email
             is to give you and your client an opportunity to
             confer on this omission and refusal to produce all
             the internal communication (emails) documents
             within 5 days. I am available to confer tomorrow
             or Thursday at a time that works for you.

             Note that Defendants filed “Supplemental”
             Response to ROGS and RFP, and Amended
             Disclosures on June 12, 2023, the last formal day
             of discovery and after the depositions of Egger,
             Chou and Crouse. The production on May 30
             and 31, I presume is the “email correspondence
             produced in native format” was referenced as
             such in the Supplemental Responses.



             Patrick McGettigan
Case 4:21-cv-03306 Document 13-3 Filed on 07/10/23 in TXSD Page 7 of 7
